      Case 3:16-cv-08277-DLR Document 14-1 Filed 02/09/17 Page 1 of 1



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 6                           UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF ARIZONA
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 9   MICHAEL J. BROSNAHAN,                           No. CV-16-08277-PCT-DLR
10                       Plaintiff,
11                                                   [PROPOSED] ORDER
           v.
12                                                   (Honorable Douglas L. Rayes)
13   CALIBER HOME LOANS, INC., LSF9
     MASTER PARTICIPATION TRUST, and
14   SUMMIT SERVICE AND REALTY LLC
15                       Defendants.
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17         Having considered the moving and opposition papers on Defendants Caliber Home
18   Loans, Inc., LSF9 Master Participation Trust, and Summit Service and Realty LLC
19   (collectively “Defendants”) Motion to Dismiss Plaintiff’s First Amended Complaint,
20   arguments, and all other matters presented to the Court, and for good cause appearing:
21         IT IS ORDERED granting Defendants’ Motion to Dismiss. The First Amended
22   Complaint in this case is ordered dismissed with prejudice.
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